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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re                                                               Chapter 11

LL FLOORING HOLDINGS, INC., et al.,                                 Case No. 24-11680 (BLS)

                 Debtors.1                                          (Jointly Administered)

                                                                    Related Docket Nos. 336 & 337


 NOTICE OF (I) CLOSING OF SALE TRANSACTION; (II) FILING OF AMENDED
ASSET PURCHASE AGREEMENT; AND (III) CLOSING OF THE DC TRANSACTION

        PLEASE TAKE NOTICE that on September 16, 2024, the Bankruptcy Court for the

District of Delaware (the “Court”) entered the Order (I) Approving the Sale of Assets Free and

Clear of Liens, Claims, Interests and Encumbrances, (II) Approving the Assumption and

Assignment of Executory Contracts and Unexpired Leases and (III) Granting Related Relief

[Docket No. 336] (the “Sale Order”),2 which, among other things, authorized the Debtors to

consummate the Sale Transaction and enter into the Asset Purchase Agreement, attached to the

Sale Order as Exhibit 1; and the Order (I) Authorizing Debtors to Enter Into and Perform Under

Sandston Distribution Center Purchase Agreement; (II) Authorizing the Private Sale of Certain

of Debtors’ Assets Free and Clear of Liens, Claims, and Encumbrances; and (III) Granting

Related Relief [Docket No. 337] (the “Private Sale Order”), which, among other things,

authorized the Debtors to consummate the transactions contemplated by the DC Purchase

Agreement, attached to the Private Sale Order as Exhibit 1.


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    The Debtors in these chapter 11 cases, along with the last four (4) digits of their respective tax identification
    numbers, are as follows: LL Flooring Holdings, Inc. (0817); LL Flooring, Inc. (9199); Lumber Liquidators
    Leasing, LLC (N/A); LL Flooring Services, LLC (5960); and Lumber Liquidators Foreign Holdings, LLC
    (4568). The address of the Debtors’ corporate headquarters is 4901 Bakers Mill Lane, Richmond, VA 23230.
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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Sale Order or the
    Private Sale Order (as defined herein), as applicable.
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       PLEASE TAKE FURTHER NOTICE that the Debtors and the Purchaser entered into

an amendment to the Asset Purchase Agreement (the “Amendment to the APA”) on September

30, 2024, to align its terms to the original commercial deal agreed upon by the parties, attached

hereto as Exhibit A.

       PLEASE TAKE FURTHER NOTICE that the Closing of the Sale Transaction, as set

forth in the Asset Purchase Agreement, occurred on September 30, 2024.

       PLEASE TAKE FURTHER NOTICE that the Closing of the DC Transaction, as set

forth in the DC Purchase Agreement, occurred on September 30, 2024.




                         [Remainder of Page Intentionally Left Blank]




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Dated: October 1, 2024
       Wilmington, Delaware
                                SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

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                                Counsel to Debtors and Debtors in Possession




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                     EXHIBIT A

                Amendment to the APA
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                                                                         EXECUTION VERSION

                 FIRST AMENDMENT TO THE PURCHASE AGREEMENT

        This FIRST AMENDMENT TO THE PURCHASE AGREEMENT (this “Amendment”),
dated as of September 30, 2024, is by and among LumLiq2, LLC, a Delaware limited liability
company (“Purchaser”), F9 Investments, LLC, a Florida limited liability company (“Guarantor”),
and LL Flooring Holdings, Inc., a Delaware corporation (the “Company”) and the Subsidiaries of
LL Flooring that are indicated on the signature pages attached hereto (together with the Company,
each, a “Seller,” and collectively, “Sellers”). Purchaser, Sellers and Guarantor are referred to
herein individually as a “Party” and collectively as the “Parties.”

                                        W I T N E S S E T H:

      WHEREAS, the Parties entered into that certain Asset Purchase Agreement, dated as of
September 6, 2024 (the “Purchase Agreement”); and

          WHEREAS, the Parties wish to amend the Purchase Agreement in the manner set forth
herein.

        NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth
herein and other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, and intending to be legally bound hereby, the Parties hereby agree as follows:

1.        Amendment.

      i.     Section 2.1 of the Purchase Agreement is hereby amended and restated in its entirety
             to read as follows:

             “Consideration. The aggregate consideration (collectively, the “Purchase Price”) to
             be paid by Purchaser for the purchase of the Acquired Assets shall be: (i) the Fixed
             Amount; plus (ii) the Inventory Price; plus (iii) all Assumed Cure Costs; and less (iv)
             the sum of the Net Deposit Refund Liability Amount.

     ii.     Section 2.3 or the Purchase Agreement is hereby amended and restated in its entirety
             to read as follows:

                “(b) On or before the date that is four (4) Business Days prior to the anticipated
                Closing Date, Sellers shall deliver to Purchaser a written statement setting forth
                (A) the Fixed Amount; plus (B) the estimated Inventory Price (subject to
                adjustment pursuant to the Inventory Count, as set out below); plus (C) all
                Assumed Cure Costs; and less (D) the sum of the Net Deposit Refund Liability
                Amount.

                (c)    On the date that is three (3) Business Days prior to the anticipated Closing
                Date, Sellers shall deliver to Purchaser an estimate of the Acquired Inventory (the
                “Estimated Inventory Count”) at the Representative Stores along with the DC
                and the Net Deposit Refund Liability Amount (the “Estimated Net Deposit
                Refund Liability Amount”). On or before close of business on the third (3rd)
                day prior to Closing, Sellers shall cause each of the Acquired Leased Real
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              Property to be closed, such that no Inventory shall be sold, or delivered from, any
              Acquired Leased Real Property. Sellers shall further cause the DC to be closed
              no later than the close of business on the fourth (4th) day prior to Closing such that
              no Inventory shall be sold or delivered from either the DC to any Acquired
              Leased Real Property or any Excluded Store. During the two (2) calendar days
              immediately preceding the anticipated Closing Date, Purchaser shall have access
              to the Representative Stores and the DC solely for the purpose of conducting an
              Inventory Count. The Inventory Count shall be conducted by Purchaser at
              Purchaser’s sole cost and expense (for the avoidance of doubt, Sellers may, at
              Sellers’ expense, designate and have a representative attend and oversee the
              Inventory Count at each and any Representative Store and the DC) and the final
              Inventory Count shall be mutually agreed by both Parties acting reasonably and in
              good faith. The Parties will also conduct a review of the Existing Customer
              Deposits related to the Reserved Inventory and the value of the Reserved
              Inventory measured at 100% of the landed cost of the Reserved Inventory, during
              the two (2) calendar days immediately preceding the anticipated Closing Date (the
              “Final Net Deposit Refund Liability Amount”).

              (d)     The Inventory Count at the DC shall be deemed to be the final Inventory
              Count relative to the Inventory located in the DC. Any difference between the
              final count of the Acquired Inventory at the Representative Stores and the
              Estimated Inventory Count at the Representative Stores shall be extrapolated to
              all Acquired Inventory at all Acquired Leased Real Property locations on a
              percentage basis for the purpose of determining the Inventory Price with respect
              to the Acquired Inventory at the Acquired Leased Real Property locations. The
              Inventory Price shall be adjusted accordingly to give effect to the final Inventory
              Count of the DC and the final Inventory Count of the Acquired Leased Real
              Property locations. The Net Deposit Refund Liability Amount shall be adjusted
              accordingly to give effect to any difference between the Final Net Deposit Refund
              Liability Amount and Estimated Net Deposit Refund Liability Amount.”

    iii.   Section 11.1 of the Purchase Agreement is hereby amended to include the following
           definition:

              “Net Deposit Refund Liability Amount” means the Existing Customer Deposits
              related to the Reserved Inventory less 100% of landed cost value of the Reserved
              Inventory.”


2.    Capitalized Terms. Capitalized terms used but not otherwise defined herein shall have the
meanings ascribed to them in the Purchase Agreement.

3.     Effect of Amendment. This Amendment shall not constitute an amendment or waiver of
any provision of the Purchase Agreement not expressly amended or waived herein and shall not
be construed as an amendment, waiver or consent to any action that would require an amendment,
waiver or consent, except as expressly stated herein. The Purchase Agreement, as amended by



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this Amendment, is and shall continue to be in full force and effect and is in all respects ratified
and confirmed hereby.

4.      Miscellaneous. Section 6.9 and Article X of the Purchase Agreement is incorporated herein
by reference and shall apply to this Amendment mutatis mutandis as if set forth herein at length.

                       [The remainder of this page is intentionally blank.]




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               IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed
and delivered by their duly authorized representatives as of date first written above.

                                                    PURCHASER:

                                                    LUMLIQ2, LLC, a Delaware limited
                                                    liability company


                                                    By:
                                                          Name: Jason Delves
                                                          Title: Chief Executive Officer

FOR PURPOSES OF SECTION 6.9 ONLY:

F9 INVESTMENTS, LLC,
a Florida limited liability company


By:
      Name: Avi Cohen
      Title: Chief Financial Officer




                               [Signature Page to First Amendment]
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